          Case 2:04-cr-00218-MCE Document 100 Filed 02/21/06 Page 1 of 2


 1   WILLIAM J. PORTANOVA, State Bar No. 106193
     Attorney at Law
 2   400 Capitol Mall, Suite 1100
     Sacramento, CA 95814
 3   (916) 444-7900
     (916) 444-7998 fax
 4
     Attorney for Defendant Joseph McAllister
 5
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA             )                CASE NO.       2:04-cr-0218-MCE
11                                        )
                 Plaintiff,               )
12                                        )
           v.                             )                STIPULATION AND
13                                        )                (PROPOSED) ORDER
     JOSEPH WILLIAM McALLISTER,           )                TO CONTINUE SENTENCING DATE
14                                        )
                 Defendant.               )                Date: February 14, 2006
15    ___________________________________ )                Time: 8:30 a.m.
                                          )                Hon. Morrison C. England, Jr.
16
17
              With the Court’s permission, defendant JOSEPH WILLIAM McALLISTER and plaintiff
18
     UNITED STATES OF AMERICA, by and through their undersigned counsel, do hereby
19
     stipulate and agree to vacate the defendant’s Sentencing Hearing, presently set for February 14,
20
     2006 at 8:30 a.m., and reset it for February 28, 2006 at 8:30 a.m. This rescheduling is necessary
21
     due to the parties’ attempts to resolve a sentencing issue. The parties are presently attempting to
22
     the issue informally.
23
     //
24
     //
25
     //
26
     //
27
     //
28
      Case 2:04-cr-00218-MCE Document 100 Filed 02/21/06 Page 2 of 2


 1          It is further stipulated and agreed that time will continue to be excluded for the same
 2   reasons articulated in our prior court appearances.
 3
 4   DATED: February 10, 2005                      /s/ William J. Portanova
                                                   WILLIAM J. PORTANOVA
 5                                                 Attorney for Defendant
                                                   JOSEPH WILLIAM McALLISTER
 6
 7
     DATED: February 10, 2005                      /s/ Robert M. Twiss for Philip A, Ferrarri
 8                                                 PHILIP A. FERRARRI
                                                   Assistant United States Attorney
 9
10
11   IT IS SO ORDERED.
12
     DATED: February 16, 2006
13
14
15                                                 ___________________________________
                                                   MORRISON C. ENGLAND, JR
16
                                                   UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28

                                                    -2-
